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                                  Will Wartenberg
                   [redacted email and phone #] | Indianapolis, IN


William Wartenberg
Indianapolis, IN 46201
April 8th, 2024

The Honorable Tanya S. Chutkan
United States District Court for the District of Columbia
333 Constitution Ave. NW
Washington, DC 20001, USA


Dear Judge Chutkan,

By way of introduction, my name is Will Wartenberg and I attended Indiana
University’s Kelley School of Business where I served as Student Body Vice
President before starting a 10-year professional career in the Procurement
and Supply Chain space. I am writing to you today regarding my lifelong
friend, Antony Vo, who is due to appear before you in court on April 13 th.
I have known Antony Vo for over 17 years, and I can attest to his good
character and deep sense of personal responsibility.

From the time I met Antony at Hamilton Southeastern Junior High to our
time as classmates at Indiana University, one thing has been true: he is
fiercely loyal. Loyal to his parents that sacrificed for him to be a first
generation American. Loyal to his sisters and their children, as his title
of Uncle is his biggest badge of honor. Loyal to making time for Sunday
church with his family. And loyal to friends, such as when Antony agreed
to join Student Body Congress at Indiana University and work with me on
passing legislation aimed at addressing the interests and rights of
underserved student demographics [1][2].

Antony and I disagree on politics at times… yet his unwavering loyalty and
good character has resulted in discussions of curiosity and understanding
rather than violent or threatening screaming matches like you see on
countless media networks. I am available to confirm any facts in this
letter as necessary and can provide further examples of Antony’s moral
standards at a moment’s notice.

Thank you to the court for considering this letter of character, and I
respectfully request that you avoid a decision of imprisonment and take
Antony’s capacity to learn and grow from this event into consideration… as
the gratitude and unconditional support he pours into his family, faith,
community, and friends would be sorely missed.

Sincerely,



William Wartenberg

[1] – IUSA Congress passes resolution supporting use of preferred names on ID

[2] – IUSA approves gender-neutral bathrooms
